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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

WILLIAM ELLIOTT ASHFORD,

      Plaintiff,
                                                    Case No.: 20-cv-10561
      v.
                                                    Hon. Terrence G. Berg
UNIVERSITY OF MICHIGAN,                             Mag. Judge Elizabeth A. Stafford
UNIVERSITY OF MICHIGAN-DEARBORN,
GARY GORSKI, sued in his personal capacity,
JEFFREY EVANS, sued in his personal capacity,
DAVID HAWKINS, sued in his official capacity,
BRYAN DADEY, sued in his official capacity,
jointly and severally,

      Defendants.


Deborah L. Gordon (P27058)                   Brian M. Schwartz (P69018)
Elizabeth Marzotto Taylor (P82061)           Jerome Watson (P27082)
DEBORAH GORDON LAW                           MILLER, CANFIELD, PADDOCK
Attorneys for Plaintiff                      and STONE, P.L.C.
33 Bloomfield Hills Parkway, Suite 220       Attorneys for Defendants
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                                             watson@millercanfield.com


                  DEFENDANTS’ OBJECTIONS TO
      PLAINTIFF’S “PROPOSED ORDER OF JUDGMENT FOR THE
                   PLAINTIFF: JURY VERDICT”

      Defendants, The University of Michigan, University of Michigan-Dearborn,

Gary Gorski (in his individual capacity), Jeffrey Evans (in his individual capacity),
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David Hawkins (in his official capacity), and Bryan Dadey (in his official capacity)

(collectively “Defendants”), through their counsel, Miller, Canfield, Paddock and

Stone, PLC, submit the following objections to Plaintiff’s “Proposed Order of

Judgment For The Plaintiff: Jury Verdict.”1 Defendants make these objections

without waiving their ability to appeal any aspect of this case, including any

judgment.

       Plaintiff’s proposed judgment is inconsistent with the jury verdict on the

claims pled. Most critically, it seeks to have the Court enter a judgment against all

Defendants in the same amount. The jury verdict includes specific damages assessed

against each Defendant for different claims and any final judgment should accurately

reflect that verdict.

       Additionally, the proposed judgment is premature because Plaintiff has filed

a Motion for Prospective Injunctive, Equitable, and Declaratory Relief. Defendants’

response to that motion is not due until June 13, 2024. E.D. Mich. L.R. 7.1(e)(2).

Unless Plaintiff is abandoning his claim for equitable relief, entry of a final judgment

should be deferred until that motion is resolved.

       Finally, Defendants object to any reference “to any applicable costs, fees and

interest as provided by law” because it is unclear what costs, fees, and interest, if


1
  On May 29, 2024, Plaintiff submitted the proposed judgment prior to any attempt
to meet and confer. Defendants submit these objections to preserve their rights since
the proposed judgment is inconsistent with the Jury Verdict.

                                           2
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any, Plaintiff is seeking.

Dated: May 30, 2024              Respectfully submitted,

                                 /s/Brian M. Schwartz (P69018)
                                 Miller, Canfield, Paddock and Stone, P.L.C.
                                 Attorneys for the University of Michigan
                                 150 West Jefferson, Suite 2500
                                 Detroit, Michigan 48226
                                 (313) 963-6420
                                 schwartzb@millercanfield.com


                             CERTIFICATE OF SERVICE

      I hereby certify that May 30, 2024, I electronically filed the foregoing paper

with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to the attorneys of record.

                                        /s/ Brian M. Schwartz
                                        Brian M. Schwartz (P69018)




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